RECEl\/ED

74 Cha|"Otfe NC
TRUL|NCS 27328058 ~ DAVEY, JONATHAN D - Unit! ELK'C'B 5

_________________________________________________________________________ N O;V.-Z.Z.gg¢g__..---------__-_----

FRol\/i: 27328058 C</ev'k» US Dlstrict Coun
TO: _ astern District NC
SUBJECT: Supp|ement to Docket Entry on 2/6/18 & 5/10/18

DATE: 11/17/2018 12:29:28 PM

UNITED STATES D|STR|CT COURT
For the Western District of North Caro|ina - Charlotte Division
Civil No.: 3:17-cv-00556-RJC
(3:12-cr-00068~RJC-DSC-1)

 

Jonathan Davey, '
Petitioner

VS

United States

 

Petitioner Supp|ement to Reply brief on February 6, 2018 and Supp|ement on l\/|ay 10, 2018

 

Jonathan Davey has moved to vacate, correct, or set aside his sentence pursuant to 28 USC 2255, asserting claims of
ineffective assistance of counsel and prosecutorial misconduct

Davey is supplementing his Rely brief in this instant motion because he has uncovered further evidence of prosecutorial
misconduct. Petitioner also asks for a hearing on the issues presented below.

See the attached criminal case cover sheet (Case: 3:11-cr-00122-RJC-DCS, Document 1-1) from US vs CommunityOne Bank.
The victim/witness coordinators (VWC) are clearly identifiedl Also note that the case is related to US vs Frank|ir\ Simmons
(Case: 3:10-cr-00023-RJC). ` '

None of the victims in the Simmons' ponzi scheme case ever received any correspondence from the VWC office identified on
CommunityOne's criminal cover sheet concerning the Deferred Prosecution Agreement (DPA) entered into between
CommunityOne and the United States. One of the victims in the Simmons' case was Mission to Mi|itary (MTM). Petitioner
Jonathan Davey's father, Keith Davey, was the President and Founder of the MTM organization and on the Board of Directors.
l\/lTl\/l never received any correspondence from the VWCs, Shir|ey Rut|edge or U|icia Kennedy, regarding the DPA. Keith Davey
was also an individual victim of Simmons' scheme and he did not receive correspondence about the DPA from the VWCs. See
attached Exhibit G (ECF #82 from Ya|e vs CommunityOne Bank at pages 8-9, Dec|aration of Keith Davey).

This was blatant prosecutorial misconduct by Assistant US Attorney Kurt W. Meyer to deliberately withhold any mention of'
CommunityOne's culpability from all the victims in the related Simmons' fraud case. See attached Exhibit G (additional victim
declarations, pages 1-14). This was no mere accidental oversight CommunityOne would not have been bailed out by private
investors if there were private suits initiated by any victims/plaintiffs instead l\/leyers packaged the resolution of
CommunityOne's liability as a Bank Secrecy Act (BSA) violation shielding private causes of actions based on the BSA violation.
He then entered into the DPA with CommunityOne and CommunityOne was fined. All the while l\/|eyers never notified the VWC.

lf victims l\/lTM, Keith Davey, or Safe Harbor Christian Foundation (of which petitioner was President, Founder, and Board of
Directors member) had received notice from the VWC office, petitioner Davey would'have had a different_strategy at trial. This
deliberate act by US Attorney Meyer deprived petitioner of a fair trial.

Additionally, from the attached criminal cover sheet of US vs Davey, Toft, Sloat, and l\/lurphy (Case: 3:12-cr-00068-RJC),
please note that at the bottom of the page l\/leyer states that Davey's case is related to Salazar (Case: 3:‘|'0-cr-00244-RJC). ln
point of fact Daveyls case had nothing to do with Salazar. There was not even an emai| or any evidence at Davey's trial linking

Davey to Salazar. Dave&;:'s case_ was direct| related to US vs Simmons and L_JS vs CommunityOne Bank. The DPA was entered
into the US vs Commu ' §§€eeBanQl¥S'cQQgt§@ABil@Z MQUUYQ§"§-Qrinfl_tt@@ol@/@Ké$§wa§’a@@<ét&roha=ebruary 22,

 

TRUL|NCS 27328058 - DAVEY, JONATHAN D - Unit: ELK-C-B

2012 (see attached). This was not another mere oversight. lt was evidence of deliberate malfeasance by Meyers to divert
Davey's defense attorney to the Salazar docket and not the Simmons/CommunityOne docket. This additional act of misconduct
deprived petitioner Davey of a fair trial. '

|n conclusion, it has already been conceded by the Government that in the extensive, voluminous discovery turned over to
petitioner Davey's criminal defense attorney, the Government did not disclose the existence of the DPA. The supplement filed
today brings to the court's attention the additional Brady Rule violations that resulted in material prejudice to Davey's right to a
fair trail. At trial Davey would have presented evidence of CommunityOne's involvement in the scheme and how both
CommunityOne and Simmons hid the ponzi scheme from Davey,

Petitioner Davey also asks the court for a hearing so that l\/|eyers and the victim/witness coordinators can be e`xamined.

Respectfully Submitted on: N B‘*\~\\,J./ l °l\ `=1§\§’

Jonathan Davey, pro s
Reg.#:27328-O58

FC| ElktOn OhiO

PO B.ox 10

Lisbon, OH 44432

Three Attachments: _

Criminal Cover,Sheet - US vs CommunityOne Bank (Case: 3:11-cr-00122-RJC-DSC, Document 1-1). (1 page) . v
Crimina| Cover Sheet - US vs Davey, Toft, S|oat, & l\/lurphy (Case: 3:12-cr-00068-RJC-DSC, Document 1-2). (1 page)
Exhibit G, Plaintiffs' Declarations - Yale vs CommunityOne Bank (Case: 3:15-cv-403-RJC-DSC). (14 pages)

*** CERT|F|-CATE OF SERV|CE ***

 

Jonathan Davey, on this day \\<;\l.xm\@ .’ \°q § R\ 3 did place this supplement in the prison mailing system, postage
prepaid, for delivery to the following address:

 

US District Court

401 W. Trade Street

Clerk of Courts, Room 210
Charlotte, NC 28202

Jonatha`n Davey, pro

Case 3:17-cv-00556-R.]C Document 10 Filed 11/27/18 Page 2 of 18

 

 

 

 

Rev:`sed AO 45 (WDNC~03/07)

NEW CRIMINAL CASE COVER SHEET ' U. S. DISTRICT COURT

 

(T 0 be usedfor §§ new Bills of lndictments and Bills oflnformatz`on)

CASE SEALED: ( ) Yes (X ) No DOCKET NUMBER: . zi'l HC Cl{l IQ 9
(If case is to be sealed, a Motion to Seal and proposed Order must be attached )

CASE NAME : US vs. COMMUNITYONE BANK, N.A.

COUNTY OF OFF,ENSE : MECKLENBURG COUNTY

RELATED CASE INFORMATION -: (see below)

Magz'strate Judge Case Number

 

Search Warrant Case Number

 

llliscellaneous Case Number
Rule 20b

 

 

 

SERVICE OF PROCESS »

, U.S.C. CITATIONS (Mark ojj”ense carrying greates! weight): l:} Petty l:l Misdemeanor X Fclony
Tme 31 U.s.c. 5318(h) '

 

JUVENILE =' ill Yes _X No

 

ASSISTANT U.' S. ATTORNEY :KURT W. MEYERS `

VICT!M / WITNESS COORDINATORS : ShirleV.rutlcdlzc@usdoi.§ov /ulricia.kennedv@usdoi.stov

 

 

'INTERPRETER NEEDED l
_ LIST LANGUAGE AND/OR DIALECT:_

 

 

 

REMARKS AND SPECIAL INSTRUCTIQN`S= RELA§!§ED TO: United St_ates v. Keith

Franklin Simmons - Case No.: 3:'10CR23
Ca§@§?l§i-%?-Wl%%§§@é%cD@§BHUH{§&A-l':"lifleldlé¥ifé%$l lpfif@§`g§ €l‘°érgl

 

Revisea' AO 45 (WDNC-03/07)

NEW CRIMINAL CASE COVER SHEET _ U. S. DISTRICT COURT
(To be usedfor_gél new Bills oflndictments`and Bllls of Information) -

cAsE sEALEl_): ( ) Yes _ 00 No DoCK;ET NUMBER= 319~¢‘“`@9"2)"€3
(]Y case is to be sealed, a Motz'on to Seal and proposed Order must be attached.)

cAsE NAME = Us vs. (1) JoNATHAN D. DAVEY
(2) JEFFREY M. ToF'r
(s) cHAI) A. sLoAT _
(4) MICHAEL J. MURPHY
coUNTY oF oFFENsE = MECKLENBURG coUNTY
RELATEI) cASE INFORMATIQN = (see below)

Magz'stmte Judge Case Number

 

Searck Warrant Case Number

 

Miscellaneous Ca.s'e Number
Rule 2011

 

 

SERVICE OF PROCESS - SUMMONS AND WARRANTS

U.S.C. CITATIONS (Mark ojj“ense cam/ing greatest weight): l:| Petty l:l MiSdemCanOr X F€lony
rifle 13 _U.S.c. Secrion 371 `

JUVENILE : [:l Yes X No

 

ASSISTANT U. S. ATTORNEY :KURT W. MEYERS

VICTIM / WITNESS COORDINATORS : shirley.rutledgc(a)usdoj.gov /ulricia.kennedy@usdoj.gov

 

 

INTERPRETER NEEDED:
LIST LANGUAGE AND/OR DIALECT:
REMARKS AND SPECIAL INSTRUCTIONS:

CASE RELA TED TO: SALAZAR - 3:10CR244-RJC '

 

 

 

cage‘§?l§L&?-t§do%@§§§cF-*l§§c DB%HUMQ-z':"€li’eidlé§%§$lzp%é Q‘UrS_L

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
ALBERT YALE, et al., )
Plaintiffs, §
vs. ) Casc No. 3:15-CV-403-RJC-DSC
COMMUNITY ONE BANK, N.A., §
Defendant. §

PLAINTIFFS’ EXHIBITS TO RESPONSE TO SUMMARY JUDGMENT

EXHIBIT G

Case 3:17-cv-00556-R.]C Document 10 Filed 11/27/18 Page 5 of 18

 

UNITED STATES DISTR_ICT COURT
WESTERN DISTRICT OF NORTH CAROL]NA

 

CHARLOTTE DIVISION
ALBERT YALE, et al., )
margaret i
vs_ ‘ ) Case No. 3:15-CV-403-RJC-DCK
COMl\/[Ul'\lITY ONE BANK, NiA., g
Defendani. §

DECLA€RATION OF LARRY BURROUGHS
1. My name is Larry Burroughs.
2. I make this Decl§aration based upon personal knowledge
3. l am a plaintiff m the lawsuit styled Albert Yale, et al., v. Communty()ne Bank,

N.A., NO. 3:15-cv~403.

j
4

4. Jonathan Davey \:vas not my investment advisor, and my money Was invested l

in the Ponzi scheme commonly known as Blacl< Diamond and orchestrated by Keith

Simmons.

`5. After the Blacli Diamond Ponzi scheme came to light, I received
communications and notifications nom time to time from the federal government and its
Victiminotification service about the govemment’s criminal prosecution of Keith Simmons
and Jonathan Davey and other individuals related to their participation in the scheme

`6. Ineve'r received anyi communication or notification from the federal government
or its victim notification sewiceiabout CommunityOne Bank, the government’s prosecution

of the bank, or the bank’s participation in the Black Diamond Ponzi scheme.

Case 3:17-cv-00558-R.]C Document 10 Filed 11/27/18 Page 6 of 18

 

 

§

 

 

7. I have never redeived any stock certificate from Divine Circulation Services,
Ltd., or any other entity or person showing I owned stock in Divine Circulation Scrvices, Ltd.

8. I have never received anynotice of meeting of shareholders and never attended
any meeting of shareholders, of Divine Circulation Services, Ltd.

9. I have never received any payment of dividends from Divine Circulation
Services, Ltd. §

lO. I have never received any lRS Fonn 1099 or IRS Form 1041, or Schedule Kl ,
from Divine Circulation Sewices, Ltd.

_ I declare under penalty iof perjury that the,foregoing is true and correct Executed on this

the + day ofMarch, 2018.

 

 

Larry Burroughs

 

Case 3:17-cv-00556`-R.]C Document 10 Filed 11/27/18 Page 7 of 18

 

 

 

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
ALBERT YALE, et al., )
Plaintiffs, §
vs. ) Case No. 3115-CV-403-RJC-DCK
COMMUNITY ONE BANK, N.A., §
Defendant. §

DECLARATION OF DAVID WOETZEL

l. My name is David Woetzel.

2. I make this Declaration based upon personal knowledge

3. I am an officer of CCR Data, Inc.

4. CCR Data, Inc., is a plaintiff in the lawsuit styled Albert Yale, et al., v.
CommuntyOne Bank, N.A., No. 3:15-CV-403.

5. JonathanDavey was an investment advisor of CCR Data, lnc., and CCR Data’ s
money was invested in the Ponzi scheme commonly known as Black Diamond and
orchestrated by Keith Simmons.

6. After the Black Diamond Ponzi scheme came to light, CCR Data, Inc.,
received communications and notifications from time to time from the federal government
and its victim notification service about the government’s criminal prosecution of Keith
Simmons and Jonathan Davey and other individuals related to their participation in the
scheme

7. I do not recall CCR Data, Inc., ever receiving any communication or

Case 3:17-cv-00556-R.]C Document 10 Filed 11/27/18 Page 8 of 18

 

 

7 Schedule Kl from Divine Circiilatiori Services, Ltd

;iiie?. daiefi»imeh»zi)is

~ notification from the federal government or its victim notif'cauori service aboui¥’

' CommunityOne Bahk Fhe gowmmmf SPFOS€Cutien of the bank or the bank S participation 7 71 "

7 iii the 8laek'ljiamoiid Ponzi scheme ' '

S, 7 7j CCR Data, lnc`.,¢"lias never1'i'éei§ived':"'any'jjsto‘rck:f'cer'fificate front Divine '

 

' circuiaiion services,i;ici.

' 717:'97.7, ' CCRl)ata eluc. has'?ncvei' received any noticeoilinreelingoffshareholds'r'7`.s77,"'2'1i:1'd7 , 77

never attended any meeting of shareholders. of Divine formulation Servii,es le

 

7 il CCR Data, inc lies nevci received any payment of dividends from Divine"r
:7'C1rculation Servu.es Ltd 7 7

iii ' LCR Data Iric has never received any IRS Forin 1099 or lR-S 77Foriri l04l, or‘:, 57 ' z

   

l declare under penalty ofpei jury that the l"orcgciin¢l is ti1ic and correct Exi,c.iited on Lliisr; 1 ' ' ' :

h Vril

 

 

Case 3:17-cv-00556-R.]C Document 10 Filed 11/27/18 Page 9 of 18

 

 

 

 

UNI'I`BD STATES DISTRICT COURT
WESTBRN DISTRICT OF NORTH CAROL]NA

CHARLO'I`TE DIVISION
ALBBRT YALB, et al., )
Plaintiffs, l
vs. ' ) Case No. 3;15-CV-403-RJC~DCK
COMMUNITY ONE BANK, N.A., l
Dofeudanf. l

DECLARATION OF GERALD WEBBER

1. My name is Gei'ald Webber.
2. I make this Declaratioii based upon personal knowledgell
3 . l am aplaintiffin the lawsuit styled All)ei't Yale, ct al., v. CommuntyOne B ank,
_ N.A., No. 3:15-CV-403.

4. lonathan Davey was my investment advisor, and mymoncywas invested in the
Ponzi scheme commonly known as Black Diamond and orchestrated by Keith Simmons

5. After the Black Diamond Ponzi schemel came to light, I received
communications and notifications from time to time from the federal government audits
victim notification service about the government’s criminal prosecution of Keith Simmons
and Joneithan Davey and other individuals related to their participation iii the scheme

6. l never received any communication or notification from the fed/civil government
or its victim notification service about Communitylf)nc Banl<, the govcmmcnt’s prosecution
of the bank, or the banlc‘s participation iii the Black Diamond Ponzi scheme

7. I have never received any stock certificate from Divine Circulation Sci'vices.

Case 3:17-cv-00556-R.]C Document 10 Filed 11/27/18 Page 10 of 18

 

 

Ltd., or any other'entity or person showing 1 owned stock in Divine Circulation Sewices, Ltd.

B. I have never received anynoticc of meeting of-sharehold.ers, and never attended
any meeting of shareholders, of Divine Circulation Services, Ltd.

9. l have never received any payment of dividends from Divine Circulation
Services, Ltd.

10. lhave never received any IRS Form 1099 or iRS Form 1041, or Schedule Kl.
from Divine Circulation Services, Ltd.

I declare under penalty of perjury that the foregoing is true and correct Executed on this

the §_'j_ day of March, 2018.

/g./¢/i w/C z/t/M.MM

Gecald chber

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 11 of 18

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROL[NA

CHARLOTTE DIVISION
ALBERT YALE, et al., )
Plaintiffs, §
vs. ) Case No. 3:15-CV-403-RJC-DCK
COMMUNITY ONE BANK, N.A., §
Defendant. §

DECLARATION OF IEITH DAVEY

l. My name is Keith Davey,

2. l make this Declaration based upon personal knowledge
3. I am a board member of Missions to Military, Inc.
4. I am a board member of Safe Harbor Christian Foundation.

5. Missions to Military', Inc., Safe Harbor Christian Foundation, and I are
plaintiffs in the lawsuit styled Albert Yale, et al., v. CommuntyOne Bank, N.A., No. 3 : 15-
CV-403.

6. Jonathan Davey Was an investment advisor of Missions to Military, Inc., and
my investment advisor, and Mission to Military, Inc. ’s money and my money were invested
in the Ponzi scheme commonly known as Black Diamond and orchestrated by Keith
Simmons.

7. Jonathan Davey Was an officer and board member of Safe Harbor Christian
Foundation, and Safe Harbor Christian Foundation’s money was invested in the Black

Diamond Ponzi scheme

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 12 of 18

 

 

 

 

8. Jonathan Davey abstained from participating in votes taken by the Safe Harbor
Christian Foundation board members on whether to invest money in investment opportunities
suggested or presented to the Foundation by Jonathan Davey.

9. After the Black Diamond Ponzi scheme came to light, Missions to Military,
Inc. and l received communications and notifications from time to time from the federal
government and its victim notification service about the government’s criminal prosecution
of Keith Simmons and Jonathan Davey and other individuals related to their participation in
the scheme.

lO. Neither Missions to Military, lnc., Safe Harbor Christian Foundation, nor l ever
received any communication or notification from the federal government or its victim
notification service about CommunityOne Bank, the government’s prosecution of the bank,
or the bank’s participation in the Black Diamond Ponzi scheme.

l l . Neither Missions to Military, lnc., Safe Harbor Christian Foundation, nor l ever
received any stock certificate from Divine Circulation Services, Ltd., or any other entity or
person showing Missions to Military, Inc., Safe Harbor Christian Foundation, or l owned
stock in Divine Circulation Services, Ltd.

12. Neither Missions to Military, Inc., Safe Harbor Christian Foundation, nor l ever
received any notice of meeting of shareholders, and never attended any meeting of
shareholders, of Divine Circulation Services, Ltd.

13 . Neither Missions to Military, Inc., Safe Harbor Christian Foundation, nor l ever

received any payment of dividends from Divine Circulation Services, Ltd.

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 13 of 18

 

 

 

14. Neithchissions to l\/Iilitai'y, lnc., Safe Harbor Christian Fo\mdation, norl ever
received any IRS Form 1099 or IRS Form 1041, or Scbcdule Kl. from Divine Circulation
Seivices, Ltd.

l declare under penalty of perjury that the foregoing is true and correct Executed on this

/¢~:;~H\ U)A way
Ke€ihzéiz§ A/£M?_"

the §_\_ day ofMarch, 2013.

CaSe 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 14 of 18

 

UNITED sTATEs DISTRICT coURT
wEerRN Disrincr oF NoRTH cARoLiNA

CHARLOTTE DIVISION
ALBERT YALE, et al., )
Plaintiffs, §
Vs. ) Case No. 3:15-CV-403-RJC-DCK ,
COMMUNITY ONE BANK, N.A., §
Defendant. §

DECLARATION OF JOHN MCFERREN

l. My name is John McFerren.

2. I make this Declaration based upon personal knowledge

3 . I am a plaintiff in the lawsuit styled Albert Yale, et al., v. CommuntyOne Bank,
N.A., No. 3:15-CV-403.

4. Jonathan Davey was my investment advisor, and my money was invested in the
Ponzi scheme commonly known as Black Diamond and orchestrated by Keith Simmons.

5. After the Black Diamond Ponzi scheme came to light, I received
communications and notifications from time to time from the federal government and its
victim notification service about the government’s criminal prosecution of Keith Simmons
and Jonathan Davey and other individuals related to their participation in the scheme.

6. Inever received any communication or notification from the federal government
or its victim notification service about CommunityOne Bank, the government’s prosecution
of the bank, or the bank’s participation in the Black Diamond Ponzi scheme.

7. I have never received any stock certificate from Divine Circulation Services,

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 15 of 18

 

 

Ltd. , or any other entity or person showing l owned stock in Divine Circulation Services, Ltd.

8. lhave never received any notice of meeting of shareholders, and never attended
any meeting of shareholders, of Divine Circulation Services, Ltd.

9. l have never received any payment of dividends from Divine Circulation
Services, Ltd.

10. I have never received any IRS Form 1099 or IRS Form 1041 , or Schedule Kl,
from Divine Circulation Services, Ltd.

l declare under penalty of perjury that the foregoing is true and correct. Executed on this

ihe~?_/ day orMarch, 2018.

John McFerren

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 16 of 18

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROL]NA

CHARLCT'I`E DIVISION
ALBERT YALE, et al., )
Plaintiffs, §
vs. ) Case No. 3:15-CV-403-RJC-DCK
COMMUNITY ONE BANK, N.A., §
Defendant. §

DECLARATION OF TOM PR]NSEN

l. My name is Tom Prinsen.

2. l make this Declaration based upon personal knowledge

3 . l am a plaintiff in the lawsuit styled Albert Yale, et al., v. CommuntyOne Bank,
N.A., No. 3:15-CV-403.

4. Jonathan Davey Was my investment advisor and my money was invested in the
Ponzi scheme commonly known as Black Diamond and orchestrated by Keith Simmons.

5 . After the Black Diamond Ponzi scheme came to light, l received
communications and notifications from time to time from the federal government and its
victim notification service about the government’s criminal prosecution of Keith Simmons
and Jonathan Davey and other individuals related to their participation in the scheme

6. I never received any communication or notification from the federal government
or its victim notification service about CommunityOne Bank, the government’s prosecution
of the bank, or the bank’s participation in the Black Diamond Ponzi scheme

7. l have never received any stock certificate from Divine Circulation Services,

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 17 of 18

 

 

Ltd. , or any other entity or person showing I owned stock in Divine Circulation Services, Ltd.

8 . I have never received anynotice of meeting of shareholders, and never attended
any meeting of shareholders, of Divine Circuiation Services, Ltd.

9. I have never received any payment of dividends from Divine Circulation
Services, Ltd.

10. I have never received any IRS Form 1099 or IRS Form 1041, or Schedule Kl ,
from Divine Circulation Services, Ltd.

l declare under penalty of perjury that the foregoing is true and correct Executed on this

the §L day ofMarch, 2018.

hbj/tm

Tom Prinsen

Case 3:17-cV-00556-R.]C Document 10 Filed 11/27/18 Page 18 of 18

 

